
		OSCN Found Document:REINSTATEMENT OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				REINSTATEMENT OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS2025 OK 32Decided: 05/12/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 32, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.



ORDER

The Oklahoma Board of Examiners of Certified Courtroom Interpreters recommended to the Supreme Court of Oklahoma that the credential of the following interpreters:

Maria Argueta

Edgar Escalante

Francisca Padilla

Carol Simmons

Angel Vides

be reinstated as they have complied with the continuing education requirements for 2024 and annual certificate renewal requirements for 2025 and have paid all applicable fees.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 23, App. 1, Rules 18 and 20, the credentials of the above listed Interpreters be reinstated from the suspension earlier imposed by this Court:

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 12th day of MAY, 2025.


/s/ CHIEF JUSTICE


ALL JUSTICES CONCUR.






	
		
			
				
					
			
				
				
								
					The Oklahoma Supreme Court
					2100 N. Lincoln Blvd., Suite 1
					Oklahoma City, OK 73105
					
										
				
				
			
		
	
	